                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In re Beverley Jackson,                                       Case No. 08-61931
                                                              Chapter 7
                Debtor.                                       Hon. Marci B. McIvor
______________________________/

Michael Stevenson, Trustee,

                     Plaintiff,

v.                                                            Adv. Pro. No. 09-5490

Mario Genna, Kimberly Genna
Layla Genna, Sebastian Genna, and
The Law Office of Siciliano, Mychalowych,
Van Dusen and Fuel, P.C.

                Defendants.
_______________________________/


     ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND
           DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        For the reasons stated in an Opinion issued with this Order,

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Summary Judgment is

GRANTED on Counts I and II of the Complaint. Plaintiff is awarded a judgment against

the Genna Defendants in the amount of $168,559.38.

        IT IS FURTHER ORDERED that Defendant Law Firm’s Motion for Summary

Judgment is GRANTED on Count III of the Complaint. Count III is DISMISSED.

        IT IS FURTHER ORDERED that Count IV of the Complaint is GRANTED IN

PART and DENIED IN PART.


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Signed on March 26, 2010



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                                             /s/ Marci B. McIvor
                                          Marci B. McIvor
                                          United States Bankruptcy Judge




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